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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA

-against
BENJAMIN MALDONADO,
Defendant.

KIMBA M. WOOD, District Judge:

 

 

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ORDER
14 CR 124 (KMW)

The Court will hold a remote violation conference on Tuesday, January 19, 2021, at 10:00

a.m. Members of the press and public who wish to hear the proceedings should dial 917-933-

2166 and enter Conference ID 389965712.
SO ORDERED.

Dated: New York, New York
January 12, 2021

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KIMBA M. WOOD
UNITED STATES DISTRICT JUDGE

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